






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00551-CR






Steven Michael Backstrom, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BURNET COUNTY, 33RD JUDICIAL DISTRICT

NO. 35498, HONORABLE GUILFORD L. JONES III, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		A jury convicted Steven Michael Backstrom of burglary of a habitation with intent
to commit the felony offense of indecency with a child and aggravated sexual assault of a child
and&nbsp;assessed punishment for the offenses at ninety-nine years in prison and life imprisonment,
respectively.

		Appellant's court-appointed attorney has filed a motion to withdraw supported by a
brief concluding that this appeal is frivolous and without merit.  The brief meets the requirements
of Anders v. California, 386 U.S. 738, 744 (1967), by presenting a professional evaluation of the
records demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio,
488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State,
516&nbsp;S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972);
Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's
brief and was advised of his right to examine the appellate record and to file a pro se brief.  See
Anders, 386 U.S. at 744.  No pro se brief has been filed and no extension of time was requested.

		We have reviewed the record and find no reversible error.  See Garner v. State,
300&nbsp;S.W.3d 763, 766 (Tex. Crim. App. 2009); Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).  We agree with counsel that the appeal is frivolous.  Counsel's motion to withdraw is
granted.  The judgment of conviction is affirmed.



						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Pemberton and Rose

Affirmed

Filed:   April 15, 2011

Do Not Publish


